                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:11-00015
                                                   )       JUDGE CAMPBELL
ELMER HILL                                         )

                                           ORDER

       Pending before the Court is a Motion to Continue Hearing Date (Docket No. 147). The

Motion is DENIED without prejudice to clarifying the hearing date Defendant wants to continue.

       The sentencing hearing is currently scheduled for June 22, 2015, at 11:00 a.m.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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